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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

QING QIN,                                           :      CIVIL ACTION
                Plaintiff,                          :
                                                    :
       v.                                           :      No.: 20-cv-2423
                                                    :
VERTEX, INC.,                                       :
          Defendant.                                :


                                           ORDER

       AND NOW, this         30TH   day of November, 2021, upon consideration of Plaintiff’s

Motion to Preclude Defendant’s Expert, Irene C. Mendelsohn (ECF No. 27), and Defendant’s

response thereto (ECF No. 32), and for the reasons set forth in the memorandum filed

concurrently with this Order, IT IS HEREBY ORDERED that Plaintiff’s motion is DENIED.



                                                    BY THE COURT:


                                                     /s/ Lynne A. Sitarski             .
                                                    LYNNE A. SITARSKI
                                                    United States Magistrate Judge
